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VIA ECF
Honorable Justin T. Quinn, U.S.M.J.

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United States District Court, District of New Jersey

402 East State Street
Trenton, New Jersey 08608

Re:

BERKELEY HEIGHTS, NJ

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PROVIDENCE, RI

March 11, 2025

Civil Action No. 3:19-cv-08966-RAK-JTQ

Goydos, et al. vs. Rutgers, The State University of New Jersey

Dear Judge Quinn:

RALEIGH, NC
RICHMOND, VA
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SALT LAKE CITY, UT
SAN DIEGO, CA

SAN FRANCISCO, CA
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ST. LOUIS, MO
TAMPA, FL
WASHINGTON DC REGION
WHITE PLAINS, NY

Our office represents Rutgers, The State University of New Jersey in the above-referenced
matter. We submit for Your Honor’s approval the enclosed Consent Order regarding the release
of Plaintiff James Goydos’ unemployment compensation records from the New Jersey Department
of Labor. The parties have agreed to the form, substance, and entry of this Order. Accordingly, if
the enclosed Consent Order meets Your Honor’s approval, the parties respectfully request Your

Honor execute same.

We thank the Court for its attention to this

matter.

Respectfully submitted,
JACKSON LEWIS P.C

opted

Robert J. Cino
Cody C. Hubbs

JEKB/RJC/CCH:me
Enclosures

cc: Shaun I. Blick, Esq. (Via ECF)

Kara A. Findel, Esq. (Via ECF)
4936-8812-3942, v. 1
